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Fill in this information to identify the case:

United States Bankruptcy Court for the:
                          Southern District of New York
                                          (State)                                                                              ☐ Check if this is an
Case number (if known):                                       Chapter    11                                                        amended filing



      Official Form 201
      Voluntary Petition for Non-Individuals Filing for
      Bankruptcy                                                                                                                                   04/20
      If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the
      case number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is
      available.




1.   Debtor’s Name                               Century 21 Department Stores LLC


                                                 C21 Dept Stores, Century 21 Stores, C21 Stores, Century 21 Dept Stores, Century 21 Dept,
2. All other names debtor used                   C21 Dept, Next Century
   in the last 8 years

     Include any assumed names,
     trade names, and doing
     business as names

3. Debtor’s federal Employer
   Identification Number (EIN)                   XX-XXXXXXX


4. Debtor’s address                       Principal place of business                              Mailing address, if different from principal place
                                                                                                   of business
                                          22 Cortlandt Street
                                          Number           Street                                  Number          Street

                                          5th Floor
                                                                                                   P.O. Box
                                          New York                      NY       10007
                                          City                           State     Zip Code        City                          State        Zip Code

                                                                                                   Location of principal assets, if different from
                                                                                                   principal place of business
                                          USA
                                          County                                                   Number          Street




                                                                                                   City                          State        Zip Code




5. Debtor’s website (URL)                 www.c21stores.com

6.   Type of debtor                       ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))

                                          ☐ Partnership (excluding LLP)

                                          ☐ Other. Specify:
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Debtor            Century 21 Department Stores LLC                                   Case number (if known)
           Name



                                              A. Check One:
7.   Describe debtor’s business
                                              ☐ Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                              ☐ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))

                                              ☐ Railroad (as defined in 11 U.S.C. § 101(44))

                                              ☐ Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                              ☐ Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                              ☐ Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                              ☒ None of the above

                                              B. Check all that apply:
                                              ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)

                                              ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                                 § 80a-3)
                                              ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                              C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4521 (Department Stores)

8. Under which chapter of the                 Check One:
   Bankruptcy Code is the
   debtor filing?                             ☐ Chapter 7

                                              ☐ Chapter 9

      A debtor who is a “small                ☒ Chapter 11. Check all that apply:
      business debtor” must check
      the first sub-box. A debtor as                            ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
      defined in § 1182(1) who elects                             aggregate noncontingent liquidated debts (excluding debts owed to insiders or
      to proceed under subchapter V                               affiliates) are less than $2,725,625. If this sub-box is selected, attach the most recent
      of chapter 11 (whether or not                               balance sheet, statement of operations, cash-flow statement, and federal income tax
      the debtor is a “small business                             return or if any of these documents do not exist, follow the procedure in 11 U.S.C. §
      debtor”) must check the second                              1116(1)(B).
      sub-box.
                                                                ☐ The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent
                                                                  liquidated debts (excluding debts owed to insiders or affiliates) are less than
                                                                  $7,500,000, and it chooses to proceed under Subchapter V of Chapter 11. If this
                                                                  sub-box is selected, attach the most recent balance sheet, statement of operations,
                                                                  cash-flow statement, and federal income tax return, or if any of these documents do
                                                                  not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                ☐ A plan is being filed with this petition.

                                                                ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                  Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                                  Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals
                                                                  Filing for Bankruptcy under Chapter 11 (Official Form 201A) with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                                  12b-2.
                                              ☐ Chapter 12
9. Were prior bankruptcy cases           ☒ No
   filed by or against the debtor        ☐ Yes.      District                           When                       Case number
   within the last 8 years?                                                                      MM/DD/YYYY
     If more than 2 cases, attach a                  District                           When                       Case number
     separate list.                                                                              MM/DD/YYYY

10. Are any bankruptcy cases             ☐ No
    pending or being filed by a          ☒ Yes.                                                                    Relationship     Affiliate
                                                     Debtor      See Rider 1


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                          page 2
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    Debtor           Century 21 Department Stores LLC                                    Case number (if known)
              Name


       business partner or an                             District     Southern District of New York
       affiliate of the debtor?                                                                                          When            09/10/2020
                                                                                                                                         MM / DD / YYYY
       List all cases. If more than 1,
       attach a separate list.                          Case number, if known _______________________


    11. Why is the case filed in this       Check all that apply:
        district?
                                            ☒    Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                 immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                 district.
                                            ☒    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


    12. Does the debtor own or have         ☒ No
        possession of any real              ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        property or personal property
        that needs immediate                          Why does the property need immediate attention? (Check all that apply.)
        attention?
                                                      ☐     It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or
                                                            safety.
                                                            What is the hazard?
                                                      ☐     It needs to be physically secured or protected from the weather.

                                                        ☐    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                             attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                             assets or other options).
                                                      ☐     Other


                                                      Where is the property?
                                                                                           Number          Street



                                                                                           City                                  State       Zip Code



                                                      Is the property insured?
                                                      ☐ No

                                                      ☐ Yes.         Insurance agency

                                                                     Contact name
                                                                     Phone




                           Statistical and administrative information

    13. Debtor's estimation of             Check one:
        available funds
                                           ☒ Funds will be available for distribution to unsecured creditors.
                                           ☐ After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

    14. Estimated number of                ☐     1-49                         ☐     1,000-5,000                      ☐    25,001-50,000
        creditors 1                        ☐     50-99                        ☐     5,001-10,000                     ☐    50,001-100,000
                                           ☐     100-199                      ☒     10,001-25,000                    ☐    More than 100,000
                                           ☐     200-999




1      The Debtors’ estimated assets, liabilities, and number of creditors noted here are provided on a consolidated basis.

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Debtor           Century 21 Department Stores LLC                                    Case number (if known)
          Name



15. Estimated assets                 ☐       $0-$50,000                 ☐     $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000           ☐     $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000          ☐     $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million        ☒     $100,000,001-$500 million              ☐    More than $50 billion




16. Estimated liabilities            ☐       $0-$50,000                  ☐    $1,000,001-$10 million                 ☐    $500,000,001-$1 billion
                                     ☐       $50,001-$100,000            ☐    $10,000,001-$50 million                ☐    $1,000,000,001-$10 billion
                                     ☐       $100,001-$500,000           ☐    $50,000,001-$100 million               ☐    $10,000,000,001-$50 billion
                                     ☐       $500,001-$1 million         ☒    $100,000,001-$500 million              ☐    More than $50 billion

                  Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
    authorized representative of         petition.
    debtor
                                         I have been authorized to file this petition on behalf of the debtor.
                                         I have examined the information in this petition and have a reasonable belief that the information is true and
                                         correct.

                                I declare under penalty of perjury that the foregoing is true and correct.

                                         Executed on         09/10/2020
                                                              MM/ DD / YYYY


                                              /s/ Norman R. Veit Jr.                                             Norman R. Veit Jr.
                                              Signature of authorized representative of debtor                Printed name

                                              Title   Chief Financial Officer and Chief
                                                      Information Officer




18. Signature of attorney                     /s/ Lucy F. Kweskin                                            Date        09/10/2020
                                              Signature of attorney for debtor                                           MM/DD/YYYY



                                              Lucy F. Kweskin

                                              Proskauer Rose LLP
                                              Firm name
                                              Eleven Times Square
                                              Number                     Street
                                              New York                                                               NY                10036
                                              City                                                                   State               ZIP Code
                                              (212) 969-3000                                                         lkweskin@proskauer.com
                                              Contact phone                                                              Email address
                                              5114517                                                 NY
                                              Bar number                                          State




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 Fill in this information to identify the case:
                                                                    ,
 United States Bankruptcy Court for the:
                       Southern District of New York
                                       (State)                                                       ☐ Check if this is an
 Case number (if known):                           Chapter   11                                          amended filing


                                                    Rider 1
                     Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

        On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a petition in the United
States Bankruptcy Court for the Southern District of New York for relief under chapter 11 of title 11 of the United
States Code. The Debtors have moved for joint administration of these cases under the case number assigned to
the chapter 11 case of Century 21 Department Stores LLC.


                            COMPANY                                               CASE NUMBER

 Century 21 Department Stores LLC
                                                                   20-_________ (        )

 L.I. 2000, Inc.
                                                                   20-_________ (        )

 C21 Department Stores Holdings LLC
                                                                   20-_________ (        )

 Giftco 21 LLC
                                                                   20-_________ (        )

 Century 21 Fulton LLC
                                                                   20-_________ (        )

 C21 Philadelphia LLC
                                                                   20-_________ (        )

 Century 21 Department Stores of New Jersey, L.L.C.
                                                                   20-_________ (        )

 Century 21 Gardens of Jersey, LLC
                                                                   20-_________ (        )

 C21 Sawgrass Blue, LLC
                                                                   20-_________ (        )

 C21 GA Blue LLC
                                                                   20-_________ (        )

 Century Paramus Realty, LLC
                                                                   20-_________ (        )
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                             UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF NEW YORK


                                                     )
    In re:                                           )     Chapter 11
                                                     )
    CENTURY 21 DEPARTMENT STORES LLC                 )     Case No. 20-___________(___)
                                                     )
                                                     )
                         Debtor.                     )
                                                     )

                                LIST OF EQUITY SECURITY HOLDERS 2

Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following identifies all
holders having a direct or indirect ownership interest of the above-captioned debtor in possession (the
“Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or more of any
class of the debtor’s equity interest.

☒ The following are the debtor equity security holders (list holders of each class, showing the number and
kind of interests registered in the name of each holder, and the last known address or place of business of
each holder):

    Name and Last Known Address of Place         Kind/Class of Interest      Number of Interests Held
           of Business of Holder
    C21 Department Stores Holdings LLC         LLC Membership Interest                  100%
    22 Cortlandt Street, 5th Floor
    New York, NY 10007




2This list serves as the required disclosure by the Debtors pursuant to Rule 1007 of the Federal Rules of
Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the Chapter 11
Cases.
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          OMNIBUS WRITTEN CONSENT OF THE GOVERNING BODIES OF

                                      L.I. 2000, Inc.
                     Century 21 Department Stores of New Jersey, L.L.C.
                                    C21 GA Blue LLC
                                 C21 Sawgrass Blue, LLC
                            Century 21 Gardens of Jersey, LLC
                               Century Paramus Realty, LLC
                           C21 Department Stores Holdings LLC
                            Century 21 Department Stores LLC
                                      Giftco 21 LLC
                                  Century 21 Fulton LLC
                                  C21 Philadelphia LLC

                                         September 8, 2020


        The undersigned, constituting the required members of the board of directors or board of
managers, as the case may be (as applicable, each, a “Governing Body” and, collectively, the
“Governing Bodies”), of each of the entities referenced above (each, a “Company” and,
collectively, the “Companies”), hereby consent to and approve the following actions and adopt
the following resolutions pursuant to (as applicable) the organizational documents of the
companies, the laws of the state of formation of each Company and the Second Amended and
Restated Owners Agreement, dated as of April 4, 2017 (the “Owners Agreement”), by and among
the Owners listed on the signature page of this written consent and the other parties thereto, as
amended by that certain First Amendment, dated as of August 28, 2020:

       WHEREAS, the Companies have engaged counsel and a financial advisor to provide
advice to the Companies regarding their obligations to their respective creditors, employees,
equity holders and other interested parties;

        WHEREAS, each Governing Body has considered, among other things, presentations by
the management and the financial and legal advisors of the Companies regarding the liabilities and
liquidity situation of each Company, the strategic alternatives available to it and the effect of the
foregoing on each Company’s business;

       WHEREAS, each Governing Body has considered the options available to the Companies,
and have determined that, in their business judgment, it is advisable and in the best interests of the
Companies, their creditors, employees, equity holders and other interested parties that each
Company voluntarily file in the United States Bankruptcy Court for the Southern District of New
York (the “Bankruptcy Court”) a petition (a “Petition”) for relief under chapter 11 of title 11 of
the United States Code (the “Bankruptcy Code”); and

      WHEREAS, the Governing Body of Century 21 Department Stores of New Jersey, L.L.C.,
a New Jersey limited liability company (“C21 Department Stores NJ LLC”), desires to amend
the Operating Agreement of C21 Department Stores NJ LLC in the form presented to such
Governing Body on the date hereof (the “Operating Agreement Amendment”) in order to



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prevent any automatic dissolution of C21 Department Stores NJ LLC upon commencement of the
foregoing chapter 11 cases.

       NOW, THEREFORE, it is hereby:

Commencement of Chapter 11 Case

     RESOLVED, that each Company is hereby authorized to execute and file on behalf of the
Company in the Bankruptcy Court a Petition for relief under chapter 11 of the Bankruptcy Code.

        RESOLVED, that any officer of each Company, including any chief executive officer,
chief restructuring officer, chief financial officer, president, vice president, treasurer or secretary
(each of the foregoing, individually, an “Authorized Officer” and, collectively, the “Authorized
Officers”) be and hereby is authorized, empowered and directed, in the name and on behalf of
each respective Company, to execute and file in the Bankruptcy Court a Petition for relief under
chapter 11 of the Bankruptcy Code.

        RESOLVED, that each Authorized Officer be and hereby is authorized, empowered and
directed, in the name and on behalf of each respective Company, to execute and file all petitions,
schedules, motions, lists, applications, pleadings, declarations, affidavits and other accompanying
papers (collectively, the “First Day Motions”) and to seek entry of orders granting the relief
sought in the First Day Motions and, in connection therewith, to employ and retain assistance of
legal counsel, accountants, financial advisors and other professionals, and to take and perform any
and all further acts and deeds that he or she deems necessary, proper or desirable in connection
with, or in furtherance of, the petitions, the applications, or the bankruptcy cases of each Company,
with a view to the prosecution of each such Company’s chapter 11 case.

Retention of Advisors

       RESOLVED, each Governing Body authorizes, directs and ratifies the Companies’ hiring
Proskauer Rose LLP, as counsel, to represent the Companies in their chapter 11 cases, subject to
Bankruptcy Court approval.

       RESOLVED, each Governing Body authorizes, directs and ratifies the Companies’ hiring
of Berkeley Research Group, LLC, as financial advisor, in connection with the Companies’ chapter
11 cases, subject to Bankruptcy Court approval.

        RESOLVED, each Governing Body authorizes, directs and ratifies the Companies’ hiring
of Stretto, as claims and noticing agent, in connection with the Companies’ chapter 11 cases,
subject to Bankruptcy Court approval.

       RESOLVED, each Governing Body authorizes, directs and ratifies the Companies’ hiring
of Hilco Merchant Resources, LLC, as liquidation consultant, in connection with the Companies’
chapter 11 cases, subject to Bankruptcy Court approval.




                                                   2
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Amendment of Operating Agreement of Century 21 Department Stores of New Jersey, LLC

        RESOLVED, the Operating Agreement Amendment for C21 Department Stores NJ LLC
is hereby authorized, adopted and approved in all respects.

         RESOLVED, that each of the Authorized Officers of C21 Department Stores NJ LLC and
its sole member, L.I. 2000, Inc., be and hereby is authorized, empowered and directed, in the name
and on behalf of such Companies, to execute the Operating Agreement Amendment and to take
and perform any and all further acts and deeds that he or she deems necessary, proper or desirable
in connection with the execution and delivery of such Operating Agreement Amendment.

Principal Place of Business

       RESOLVED, that each Governing Body authorizes, directs and ratifies that the principal
place of business of each Company be 22 Cortlandt Street, 5th Floor, New York, NY 10007.

General

        RESOLVED, that any and all past actions heretofore taken by any Authorized Officer,
any director, or any member of any Company, in the name and on behalf of such Company, in
furtherance of any or all of the preceding resolutions be, and the same hereby are, ratified,
confirmed, and approved in all respects.


                                    [Signature Pages Follow]




                                                3
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    Fill in this information to identify the case:     Doc 1            Filed 09/10/20 Entered 09/10/20 07:37:39                                                Main Document
    Debtor name: __Century 21 Department Stores LLC_ __________________              Pg 10 of 12
    United States Bankruptcy Court for the: ______Southern District of New York___
    Case number (If known): ______________                                                                                                
                                                                                                                                               Check if this is an amended filing

     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
     12/15
    A list of creditors holding the 3 0 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor disputes. Do not include
    claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by secured creditors, unless the unsecured claim resulting
    from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.

    Name of creditor and complete mailing Name, telephone number, and email                           Nature of the claim      Indicate if                      Amount of unsecured claim
         address, including zip code         address of creditor contact                              (for example, trade       claim is
                                                                                                      debts, bank loans,      contingent,       if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                  amount. If claim is partially secured, fill in total claim
                                                                                                     professional services, unliquidated, or
                                                                                                                                                 amount and deduction for value of collateral or setoff to
                                                                                                        and government          disputed
                                                                                                                                                Total claim, if       Deduction for           Unsecured
                                                                                                           contracts)
                                                                                                                                               partially secured         value of               claim
                                                                                                                                                                      collateral or
                                                                                                                                                                        setoff [1]
  1 THE CIT GROUP, PO BOX 37998,                      kathy.show@cit.com                                      Trade                                                                       $   5,935,975.31
    CHARLOTTE, NC, 28237


  2 PHILLIPS VAN HEUSEN CORP., P.O. JessicaHoffman@PVH.COM                                                    Trade                                                                       $   4,769,123.45
    BOX 532513, ATLANTA, GA, 30353-
    2513

  3 G-III LEATHER FASHIONS, PO BOX                    ddeserio@g-iii.com                                      Trade                                                                       $   4,154,816.86
    29242, NEW YORK, NY, 10087


  4 WELLS FARGO, PO BOX 842665,                       Almarie.D.Maxwell@wellsfargo.com                        Trade                                                                       $   3,330,659.56
    BOSTON, MA, 02284-2665


  5 ROSENTHAL & ROSENTHAL , PO         TTorian@rosenthalinc.com                                               Trade                                                                       $   3,283,069.09
    BOX 88926, CHICAGO, IL, 60695-1926


  6 PEERLESS CLOTHING INT, 200     RoseM@peerless-clothing.com                                                Trade                                                                       $   1,429,291.90
    INDUSTRIAL PARK RD, ST ALBANS,
    VT, 5478

  7 ADIDAS AMERICA INC., DEPT CH                      kay.oliver@adidas-group.com                             Trade                                                                       $   1,184,130.73
    19361, PALATINE, IL, 60055-9361


  8 DELTA GALIL USA, PO BOX 870014, carly.buchwald@us.deltagalil.com                                          Trade                                                                       $   1,091,979.05
    KANSAS CITY, MO, 64187-0014


  9 MICHAEL KORS USA, PO BOX                          robyn.forbes@michaelkors.com                            Trade                                                                       $   1,038,396.66
    732670, DALLAS, TX, 75373-2670


 10 ZARA USA INC, 500 5TH AVE SUITE diegofe@inditex.com                                                       Trade                                                                       $      908,513.84
    #400, NEW YORK, NY, 10110


 11 FITCH INC., PO BOX 7247-6130,                     kevin.schmidt@fitch.com                          Operating Expense                                                                  $      853,960.38
    PHILADELPHIA, PA, 19170-6130


 12 MILBERG FACTORS, 99 PARK                          OWong@milfac.com                                        Trade                                                                       $      790,176.46
    AVENUE, NEW YORK, NY, 10016


 13 STERLING NATIONAL, PO BOX                         floayza@snb.com                                         Trade                                                                       $      789,585.22
    75359, CHICAGO, IL, 60675-5359


 14 HANESBRANDS, INC., 21692                          Ann.Mciver@hanes.com                                    Trade                                                                       $      783,855.83
    NETWORK PLACE, CHICAGO, IL,
    60673-1216

 15 HADDAD BRANDS, 131 DOCKS                          samh@haddad.com                                         Trade                                                                       $      649,755.05
    CORNER ROAD, DAYTON, NJ, 8810



[1] The Debtors reserve the right to asset setoff and other rights with respect to any of the claims listed herein.                                                                                             Page - 1
                      20-12097-scc                     Doc 1            Filed 09/10/20Nature
    Name of creditor and complete mailing Name, telephone number, and email               Entered
                                                                                              of the claim09/10/20
                                                                                                              Indicate if07:37:39                              Main
                                                                                                                                                               Amount ofDocument
                                                                                                                                                                        unsecured claim
         address, including zip code         address of creditor contact             Pg
                                                                                      (for11   of 12
                                                                                           example,  trade     claim is
                                                                                                      debts, bank loans,      contingent,       if the claim is fully unsecured, fill in only unsecured claim
                                                                                                                                                  amount. If claim is partially secured, fill in total claim
                                                                                                     professional services, unliquidated, or
                                                                                                                                                 amount and deduction for value of collateral or setoff to
                                                                                                       and government           disputed
                                                                                                                                                Total claim, if      Deduction for            Unsecured
                                                                                                          contracts)
                                                                                                                                               partially secured        value of                claim
                                                                                                                                                                     collateral or
                                                                                                                                                                       setoff [1]
 16 THEORY LLC, PO BOX 338, Hewlett,                  paula.stallone@theory.com                               Trade                                                                       $      570,447.40
    NY, 11557


 17 GREAT AMERICAN BEAUTY, INC., jchacon@gabinc.net                                                           Trade                                                                       $      542,866.05
    124 N SWINTON AVENUE, DELRAY
    BEACH, FL, 33444

 18 HILLDUN CORP. , 225 W. 35TH                       Jaime@hilldun.com                                       Trade                                                                       $      520,747.90
    STREET, NEW YORK, NY, 10001


 19 IMPACT TECH, INC., 223 E. DE LA                   notification@app.impact.com                      Operating Expense                                                                  $      512,598.67
    GUERRA STREET, SANTA
    BARBARA, CA, 93101

 20 PUMA NORTH AMERICA, PO BOX                        mia.crawford@puma.com                                   Trade                                                                       $      455,572.62
    74007020, CHICAGO, IL, 60674


 21 LEVI'S, LEVI STRAUSS & CO.,                       nzimmerman@levi.com                                     Trade                                                                       $      437,389.59
    ATLANTA, GA, 30384-8831


 22 GI KBS CORPORATION, 1575     tlime@kbs-services.com                                                Operating Expense                                                                  $      432,237.72
    HENTHORNE DRIVE, MAUMEE, OH,
    43537

 23 NIKE INC., 7932 COLLECTIONS                       Franck.miternique@nike.com                              Trade                                                                       $      431,046.35
    CENTER DR, CHICAGO, IL, 60693


 24 COLE HAAN, P.O. BOX 6007,                         randee.lewis@colehaan.com                               Trade                                                                       $      423,162.10
    BOSTON, MA, 02212-6007


 25 UNITED PARCEL SERVICE, PO BOX joshuavesely@ups.com                                                 Operating Expense                                                                  $      403,552.49
    7247-0244, PHILADELPHIA, PA, 19170-
    0001

 26 MAKE-UP ART COSMETICS, INC., PO jstevens@estee.com                                                        Trade                                                                       $      394,585.77
    BOX 223491, PITTSBURGH, PA, 15251-
    2491

 27 DEPOSCO, INC., DEPT LA 24078,                     accounting@deposco.com                           Operating Expense                                                                  $      379,520.17
    PASADENA, CA, 91185-4078


 28 DIRECT ENERGY BUSINESS, P.O.                      N/A                                              Operating Expense                                                                  $      375,933.01
    BOX 70220 , PHILADELPHIA, PA,
    19176-0220

 29 WHITE OAK COMM, PO BOX 100895, agoldsmith@whiteoakcf.com                                                  Trade                                                                       $      353,537.10
    ATLANTA, GA, 30384-4174


 30 HFC PRESTIGE PRODUCTS, INC,   kathleen_dempsey@cotyinc.com                                                Trade                                                                       $      352,929.95
    28740 NETWORK PLACE, CHICAGO,
    IL, 60673-1287




[1] The Debtors reserve the right to asset setoff and other rights with respect to any of the claims listed herein.                                                                                             Page - 2
      20-12097-scc               Doc 1         Filed 09/10/20 Entered 09/10/20 07:37:39                               Main Document
                                                            Pg 12 of 12


    Fill in this information to identify the case and this filing:

   Debtor Name          Century 21 Department Stores LLC

   United States Bankruptcy Court for the:                Southern District of New York
                                                                                                  (State)
   Case number (If known):



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in
the document, and any amendments of those documents. This form must state the individual’s position or relationship to the
debtor, the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property
by fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18
U.S.C. §§ 152, 1341, 1519, and 3571.


            Declaration and signature

          I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
          partnership; or another individual serving as a representative of the debtor in this case.

          I have examined the information in the documents checked below and I have a reasonable belief that the information is true
          and correct:

      ☐     Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)
      ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
      ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
      ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
      ☐     Schedule H: Codebtors (Official Form 206H)
      ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
      ☐     Amended Schedule
      ☒     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
            (Official Form 204)
      ☒     Other document that requires a declaration                     List of Equity Security Holders
    I declare under penalty of perjury that the foregoing is true and correct.

     Executed on
                                                                                  /s/ Norman R. Veit Jr.
                                        09/10/2020
                                        MM/ DD/YYYY                              Signature of individual signing on behalf of debtor
                                                                                 Norman R. Veit Jr.
                                                                                 Printed name
                                                                                 Chief Financial Officer and Chief Information Officer
                                                                                 Position or relationship to debtor
